               EXHIBIT D




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 1                                                                           File No. 16-637
 2
 3   A resolution/ordinance by Supervisor Wasserman, in conjunction with the Department of
 4   Parks, Recreation, and Culture, to amend Section 47.03 of the Milwaukee County Code
 5   of General Ordinances, to establish a policy for location-based augmented reality
 6   games in Milwaukee County Parks, by recommending adoption of the following:
 7
 8                               A RESOLUTION/ORDINANCE
 9
10         WHEREAS, On July 6, 2016, Niantic, Inc.,(Niantic) released its location-based
11   augmented reality game, Pokémon Go, which immediately gained worldwide popularity,
12   and proved to be a unique phenomenon for the use of public spaces; and
13
14           WHEREAS, Pokémon Go has brought thousands of people to Milwaukee County
15   Parks (County Parks) as the premise of the game is for players to “catch” and "train"
16   virtual Pokémon characters at various locations and designated stationed markers
17   known as “Poke stops”, which have been placed on or near various physical landmarks;
18   and
19
20         WHEREAS, Lake Park has been one of the most highly trafficked spaces for
21   Pokémon Go players within Milwaukee County (the County), as well as the State, due to
22   the numerous historic landmarks that have been tagged with Poke stops by Niantic; and
23
24           WHEREAS, although Pokémon Go has significantly increased the public’s
25   recreational usage of County Parks, the sudden mass influx of Pokémon Go players in
26   Lake Park, in particular since July 6, 2016, has resulted in unanticipated consequences,
27   including, but not limited to: increased litter and waste in the park, inadequate
28   bathrooms to accommodate the high ratio of people, after-hours violations, enhanced
29   security oversight, unauthorized vendors, significant daily traffic congestion, parking
30   violations, trampled grass, and related concerns about sensitive flora and fauna areas;
31   and
32
33         WHEREAS, for these reasons, the Department of Parks, Recreation, and Culture
34   (DPRC) and Corporation Counsel communicated with Niantic regarding Pokémon Go
35   through Niantic’s online troubleshooting portal website, in addition to correspondence
36   dated August 16, 2016, and voicemails directly to the company and
37
38         WHEREAS, on or about October 3, 2016, Niantic communicated its interest in
39   working with the County in a cooperative spirit regarding Pokémon Go in County Parks;
40   and
41
42          WHEREAS, location-based augmented reality games are not addressed by
43   current ordinances due to their novelty and technology, though they are somewhat
44   analogous to the DPRC’s geocaching procedures; and
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46          WHEREAS, virtual gaming is defined as an activity during which a person can
47   experience being in a three-dimensional environment and interact with that environment
48   during a game, and the game typically consists of an artificial world of images and
49   sounds created by a computer that is affected by the actions of a person who is
50   experiencing it; and
51
52         WHEREAS, Pokémon Go fits the characteristics defined by virtual gaming and is
53   considered as such by the standards of the DPRC; and
54
55         WHEREAS, based on the monumental success of Pokémon Go, there will be
56   more of such location-based augmented reality games in County Parks; and
57
58        WHEREAS, a systemic framework is therefore necessary to better manage these
59   games going forward to promote positive interactions, protect sensitive Park areas,
60   showcase the Parks System in its entirety, and alleviate pressure on any one Park; and
61
62        WHEREAS, the Committee on Parks, Energy, and Environment, at its meeting of
63   December 6, 2016, recommended adoption of this resolution/ordinance (vote 4-0);
64
65        WHEREAS, the Milwaukee County Board of Supervisors, at its meeting of
66   December 15, 2016, recommended that File No. 16-637 be referred back to the
67   Committee on Parks, Energy, and Environment (vote 13-4); and
68
69          WHEREAS, the Committee on Parks, Energy, and Environment, at its meeting of
70   January 24, 2017, REAFFIRMED its recommendation to adopt this File No. 16-637
71   (vote 4-1); now, therefore,
72
73         BE IT RESOLVED, the Milwaukee County Board of Supervisors (County Board)
74   hereby establishes a policy for location-based augmented realty games; and
75
76         BE IT FURTHER RESOLVED, the Department of Parks, Recreation, and Culture
77   (DPRC) is requested to modify its existing departmental policies on special event
78   permits to incorporate location-based augmented reality games;
79
80         BE IT FURTHER RESOLVED, DPRC is to reflect compliance with the ordinance
81   changes contained in Section 47.03 of the Milwaukee County Code of General
82   Ordinances (the Code) upon adoption; and
83
84          BE IT FURTHER RESOLVED, the County Board hereby amends Chapter 47.03
85   of the Code by adopting the following:
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 87                                          AN ORDINANCE
 88
 89          The Milwaukee County Board of Supervisors of the County of Milwaukee does
 90   ordain as follows:
 91
 92          SECTION 1. Section 47.03 of the Milwaukee County Code of General Ordinances
 93   is hereby amended as follows:
 94
 95           (3) Permits required for location-based augmented reality games. Virtual and
 96   location-based augmented reality games are not permitted in Milwaukee County Parks
 97   except in those areas designated with a permit for such use by the Director of the
 98   Department of Parks, Recreation, and Culture (DPRC). Permits shall be required before
 99   any company may introduce a location-based augmented reality game into the Parks,
100   effective January 1, 2017. The permitting application process is further described on
101   DPRC’s website for companies that create and promote such games. That process shall
102   include an internal review by the DPRC to determine the appropriateness of the
103   application based on site selection, protection of rare flora and fauna, personal safety,
104   and the intensity of game activities on park lands. Game activity shall only occur during
105   standard park hours, unless otherwise authorized by the DPRC Director, who has the
106   authority to designate special events and activities within the Parks outside of the
107   standard operational hours.
108
109         SECTION 2. The provisions of this Ordinance shall become effective upon
110   passage and publication.
111
112
113   ars
114   01/24/17




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